289 F.2d 934
    Charles SATTERLEE, etc., et al., Appellantv.FIRST NAT. BANK OF ABERDEEN, SOUTH DAKOTA.No. ,16602.
    United States Court of Appeals Eighth Circuit.
    March 1, 1961.
    
      Thomas J. Murphy, St. Cloud, Minn., for appellants.
      Eugene M. Warlich, St. Paul Minn., for Yellow Mfg Accept.  Corp.
      Cyrus A. Field, Fergus Falls, Minn., for First Nat. Bank.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on motion of appellants.
    
    